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 2
                                     UNITED STATES DISTRICT COURT
 3
                                                DISTRICT OF NEVADA
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 5
      Jose DeCastro,                                          Case No. 2:24-cv-00435-DJA
 6
                                 Plaintiff,
 7                                                                            Order
            v.
 8
      City of Ironton, et al.,
 9
                                 Defendants.
10

11           Before the Court is Plaintiff Jose DeCastro’s motion for an extension of time to file a

12   response to Defendants John Chapman and the Lawrence County Commissioners’ motion to

13   dismiss filed at ECF No. 19. (ECF No. 27). Plaintiff explains that he needs more time to draft a

14   response because he is in the process of retrieving documents to help draft his response. Plaintiff

15   seeks twenty-one additional days to respond. The Court finds that Plaintiff has shown good cause

16   to extend this deadline. See Fed. R. Civ. P. 6(b).

17           Plaintiff asserts that he was served with the motion to dismiss on April 6, 2025, so his

18   response is currently due April 21, 2025. See Fed. R. Civ. P. 6(a) (explaining how the Court

19   counts time); see Nevada Local Rule 7-2(b) (explaining that the deadline to file and serve points

20   and authorities in response to a motion is fourteen days after service of the motion). The Court

21   will thus extend his response deadline for twenty-one days from that date.

22           IT IS THEREFORE ORDERED that Plaintiff’s motion to extend time (ECF No. 27) is

23   granted. Plaintiff shall have until May 12, 2025, to respond to John Chapman and the Lawrence

24   County Commissioners’ motion to dismiss filed at ECF No. 19. The Clerk of Court is kindly

25   directed to send a copy of this order to Plaintiff.

26           DATED: April 16, 2025

27
                                                              DANIEL J. ALBREGTS
28                                                            UNITED STATES MAGISTRATE JUDGE
